   Case 1:15-cv-00422-WWC  Document
                  UNITED STATES     35 Filed
                                DISTRICT     09/22/15
                                         COURT        Page 1 of 1
                                                  FOR THE
                     MIDDLE DISTRICT OF PENNSYLVANIA


    JOAN LONGENECKER-WELLS, et al.,            :
          Plaintiffs                           :
                                               :
            v.                                 : CIVIL NO. 1:15-CV-00422
                                               :
    BENECARD SERVICES, INC., d/b/a             :
    BENECARD PBF, et al.,                      :
         Defendants                            :


                                        ORDER


            AND NOW, this 22nd day of September, 2015, upon consideration of

Defendant’s Motion to Dismiss (Doc. 23), IT IS ORDERED that:

            (1) Defendants’ motion under Rule 12(b)(1) is DENIED.

            (2) Defendants’ motion under Rule 12(b)(6) is GRANTED and the plaintiffs’

                 claims in the amended complaint are DISMISSED with prejudice for

                 failing to state a claim upon which relief can be granted.

            (3) The Clerk of Court shall close this case.


                                               /s/ William W. Caldwell
                                               William W. Caldwell
                                               United States District Judge
